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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

                                                 )
 ALCON RESEARCH, LTD.,                           )
                                                 )
                              Plaintiff,         )
         v.                                      )      Case No. 1:14-cv-00014-SLR
                                                 )
 MICRO LABS LIMITED and                          )
 MICRO LABS USA INC.,                            )
                                                 )
                              Defendants.        )
                                                 )

                               STIPULATION OF DISMISSAL

         Pursuant to Rules 41(a)(l) and 41(c) of the Federal Rules of Civil Procedure, Plaintiff

 Alcon Research, Ltd. (“Alcon”) and Defendants Micro Labs Limited and Micro Labs USA Inc.

 (collectively “Micro Labs”) hereby stipulate and agree that Alcon’s action against Micro Labs

 and Micro Labs’ action against Alcon, including all claims and defenses asserted by Alcon

 against Micro Labs and all claims and defenses asserted by Micro Labs against Alcon, are hereby

 dismissed with prejudice. All parties shall bear their own costs, disbursements and attorneys’

 fees.

 Dated: April 27, 2015                Respectfully submitted,

 /s/ Jack B. Blumenfeld                                    /s/ Joseph J. Bellew
 ____________________________                              ____________________________
 Jack B. Blumenfeld (#1014)                                Joseph J. Bellew (#4816)
 Maryellen Noreika (#3208)                                 COZEN O’CONNOR
 MORRIS NICHOLS ARSHT & TUNNELL LLP                        1201 N. Market Street, Suite 1001
 1201 North Market Street, P.O. Box 1347                   Wilmington, Delaware 19801
 Wilmington, Delaware 19899-1347                           Tel: (302) 295-2000
 Tel: (302) 658-9200                                       jbellew@cozen.com
 jblumenfeld@mnat.com
 mnoreika@mnat.com
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 Of Counsel:                                    Of Counsel:

 Adam L. Perlman                                Martin B. Pavane
 Dov P. Grossman                                Marilyn Neiman
 David M. Krinsky                               Julia S. Kim
 Christopher J. Mandernach                      COZEN O’CONNOR
 David M. Horniak                               277 Park Avenue, 16th Floor
 WILLIAMS & CONNOLLY LLP                        New York, New York 10172
 725 Twelfth Street, N.W.                       Tel: (212) 883-4900
 Washington, DC 20005
 Tel: (202) 434-5000

 Counsel for Plaintiff Alcon Research, Ltd.     Counsel for Defendants Micro
                                                Labs Limited and Micro Labs USA,
                                                Inc.
